Case 2:18-cv-11776-AJT-EAS ECF No. 81 filed 11/15/19        PageID.2415     Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


JOHN DOE,
                                                   Case No. 18-11776
             Plaintiff,
                                                   SENIOR U.S. DISTRICT JUDGE
v.                                                 ARTHUR J. TARNOW

UNIVERSITY OF MICHIGAN, ET AL.,                    U.S. MAGISTRATE JUDGE
                                                   ELIZABETH A. STAFFORD
             Defendants.

                                        /

     ORDER DENYING DEFENDANTS’ EMERGENCY MOTION FOR STAY OF MOTION
                              HEARING [78]

        On June 4, 2018, Plaintiff John Doe, through counsel, commenced this 42

U.S.C. § 1983 action claiming, inter alia, that Defendant University of Michigan’s

(“the University”) Policy and Procedures on Student Sexual and Gender-Based

Misconduct and Other Forms of Interpersonal Violence (“Policy”) deprives students

of due process in violation of the Fourteenth Amendment. Plaintiff filed a Motion

for Temporary Restraining Order and Preliminary Injunction, which the Court

granted in part on July 6, 2018. [Dkt. #30]. Defendants filed a Notice of Interlocutory

Appeal [32] on July 25, 2018. On April 10, 2019 the United States Court of Appeals

for the Sixth Circuit issued an Order [42] remanding the case for reconsideration in

light of Doe v. Baum, 903 F.3d 575 (6th Cir. 2018) and the University’s Interim


                                     Page 1 of 4
Case 2:18-cv-11776-AJT-EAS ECF No. 81 filed 11/15/19         PageID.2416    Page 2 of 4




Policy, which took effect on January 9, 2019. (Dkt. #42, pg. 2). The University’s

disciplinary proceedings against Plaintiff have been stayed since May 8, 2019. (Dkt.

#45, pg. 3). On October 21, 2019, Defendants filed an Emergency Motion for Stay

of Motion Hearing [78] in order to resume disciplinary proceedings against Plaintiff.

Plaintiff filed a Response [79] on November 4, 2019. Defendants filed a Reply [80]

on November 11, 2019. The motion hearing is scheduled for November 21, 2019.

      A district court’s power to stay proceedings is inherent in its ability to control

its docket. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Courts have recognized

a number of relevant considerations in deciding whether to grant a stay, chief among

them is the balance of hardship between each party. Int'l Bhd. of Elec. Workers,

Local Union No. 2020, AFL-CIO v. AT&T Network Sys. (Columbia Works), 879

F.2d 864 (unpublished table decision), No. 88-3895, 1989 WL 78212, at *8 (6th Cir.

July 17, 1989); see also Ohio Envtl. Council v. U.S. Dist. Court, S. Dist. of Ohio, E.

Div., 565 F.2d 393, 396 (6th Cir. 1977). In this consideration, “the moving party has

the burden of proving that it will suffer irreparable injury if the case moves forward,

and that the non-moving party will not be injured by a stay.” Int'l Bhd. of Elec.

Workers, 1989 WL 78212, at *8.

      Each party’s respective hardships vastly differ. Defendants argue for a stay to

ensure that the University will have the 45 days it needs to obtain a final result in

Plaintiff’s disciplinary proceeding before he graduates in 2020. (Dkt. #78, pg. 9; Dkt.

                                     Page 2 of 4
Case 2:18-cv-11776-AJT-EAS ECF No. 81 filed 11/15/19           PageID.2417     Page 3 of 4




#80, pg. 3). Plaintiff argues against a stay to ensure that once the University does

continue their investigation, it will be guided by a court order which outlines the due

process Plaintiff is entitled to. (Dkt. #79, pg. 4-5). Defendants’ concern is

speculative — if the stay is not granted, Defendants might not have as much time as

they would like to complete their process. While Plaintiff’s concern is concrete —

if the stay is granted, Plaintiff will be subject to a process devoid of this Court’s legal

guidance. Defendants have neither proved that they will suffer irreparable injury nor

proved that Plaintiff will not be injured by the stay.

      Despite the existence of the Interim Policy that Defendants argue complies

with current case law, the impetus for this suit remains: Plaintiff alleges due process

violations against Defendants that have yet to be ruled on. Furthermore, this Court

has not yet had a chance to prescribe constitutional safeguards, let alone evaluate

whether the new policies adhere to them. Defendants cannot resume a disciplinary

process while allegations of its adequacy have not been resolved. The Sixth Circuit

instructs “that a court must tread carefully in granting a stay of proceedings, since a

party has a right to a determination of its rights and liabilities without undue delay.”

Ohio Envtl. Council, 565 F.2d at 396. This Court refuses to delay these proceedings.

      While the Court today decides to move forward with next week’s hearing, it

acknowledges the University’s legitimate interest in the expeditious completion of

its disciplinary process while all material witnesses are still available. A ruling on


                                       Page 3 of 4
Case 2:18-cv-11776-AJT-EAS ECF No. 81 filed 11/15/19    PageID.2418    Page 4 of 4




the pending motions will therefore be issued in a timely manner as to accommodate

all interested parties.

       Accordingly,

       IT IS ORDERED that Defendants’ Emergency Motion for Stay of Motion

Hearing [78] is DENIED.

       SO ORDERED.



                                     s/Arthur J. Tarnow
                                     Arthur J. Tarnow
Dated: November 15, 2019             Senior United States District Judge




                                   Page 4 of 4
